Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.32 Filed 03/14/23 Page 1 of 25




                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

BRUCE KAATZ,                           CASE NO.
    PLAINTIFF,
                                       HON.
-V-

KINGSBROOK M.H.C., LLC                 PLAINTIFF’S EMERGENCY EX
(d/b/a “KINGSBROOK ESTATES             PARTE MOTION FOR A
MHC, LLC”),                            TEMPORARY RESTRAINING
KINGSBROOK MHC-MICHIGAN LLC            ORDER AND PRELIMINARY
(d/b/a “KINGSBROOK ESTATES             INJUNCTION
MHC, LLC”),
     AND                               BRIEF IN SUPPORT
MADELEINE STANFIELD
     AND
KELLY MAGAR,
     AND
HEATHER VIEHMAN
     DEFENDANTS.
Plaintiff’s Attorney:                  Defendants’ Attorneys:
LEGAL SERVICES OF EASTERN MICHIGAN
Steven E. Shelton (P68652)
Nikola Lucic (P79706)
Counsel for Plaintiffs
436 S. Saginaw Street
Flint, MI 48502
Telephone: 810-991-4820
Fax: 810-553-9824
Email: SShelton@LSEM-MI.org
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.33 Filed 03/14/23 Page 2 of 25




     PLAINTIFF’S EMERGENCY EX PARTE MOTION FOR A
    TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                     INJUNCTION

             EXPEDITED CONSIDERATION REQUESTED

      Plaintiff Bruce Kaatz, through his attorney, Steven Shelton of Legal

Services of Eastern Michigan, under Fed. R. Civ. P. 65, moves this Court for entry

of a Temporary Restraining Order and Preliminary Injunction enjoining

Defendants Kingsbrook M.H.C., LLC (D/B/A “Kingsbrook Estates MHC, LLC”)

and Kingsbrook MHC-Michigan LLC (D/B/A “Kingsbrook Estates MHC, LLC”),

and all persons acting on their behalf, from citing Plaintiff Bruce Kaatz for

“double parking” in the parking spaces in front of his home, and from otherwise

interfering with his ability to enjoy full use of his home, pending entry by the

Court of a final judgment in this action.

      This motion is based on the following grounds:

      1. Concurrent with this Motion, Plaintiff Bruce Kaatz (“Kaatz”) has

          filed a Complaint with this Court alleging violations of the Fair

          Housing Act (“FHA” or “FHAA”) and Michigan Persons with

          Disabilities Civil Rights Act (“PWDCRA”).

      2. The facts underlying this Complaint include the following:

            a. Plaintiff Kaatz is a person with a disability that makes it

               difficult and often painful for him to walk;


                                        2
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.34 Filed 03/14/23 Page 3 of 25




          b. Plaintiff Kaatz lives in a mobile home at a mobile home

             community owned/and or operated by Defendants Kingsbrook

             M.H.C., LLC and Kingsbrook MHC-Michigan LLC (hereinafter,

             collectively, “Kingsbrook Estates).

          c. Plaintiff Kaatz has two assigned parking spots directly in front

             of his home, which are included in his monthly lot rent.

          d. Plaintiff Kaatz has, for years, parked in the middle of these two

             spots to allow extra room for him to get in and out of his vehicle.

          e. Defendants Kingsbrook Estates began citing Plaintiff Kaatz for

             “double parking” in these spots in October, 2022.

          f. Plaintiff Kaatz has requested multiple times that he be allowed,

             as a reasonable accommodation under the FHA and PWDCRA,

             to “double park” in the spots directly in front of his home.

          g. Plaintiff Kaatz has supported this request with no fewer than

             three letters from his doctors, stating that he needs extra wide

             parking spots and to park as close as possible to his home.

          h. Defendants Kingsbrook Estates have refused, insisting that he

             instead park in a handicap spot further away from his home.

          i. This handicap spot is not reserved specifically for Plaintiff

             Kaatz (so it is not always available), is not marked by any


                                     3
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.35 Filed 03/14/23 Page 4 of 25




              signage other than paint on the pavement (meaning that when

              it snows, it is not identifiable as a handicap spot), and—as

              previously noted—is further away from Plaintiff Kaatz’s home.

           j. Defendants Kingsbrook Estates have cited Plaintiff Kaatz twice

              for “double parking” violations, and have threatened to evict

              him if he gets a third violation.

           k. The requested accommodation is reasonable, in that it costs

              Defendants literally nothing and the only action required of

              them is inaction.

     3. Additionally, the handicap spot that Defendants Kingsbrook

        Estates want Plaintiff Kaatz to use has not been plowed during

        recent snow storms.

     4. To the contrary, the snow was plowed onto the handicap parking

        spot, making it entirely inaccessible to anyone.

     5. Plaintiff Kaatz recently fell on the ice at the Kingsbrook Estates

        mobile home community, exacerbating his injuries and making it

        even more difficult for him to walk.

     6. As a result of the foregoing, Plaintiff Kaatz has suffered, is currently

        suffering, and will continue to suffer further injury and damages

        unless he is allowed to park in the parking spots closest to his home,


                                      4
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.36 Filed 03/14/23 Page 5 of 25




        and to “double park” in those spots to allow for him to get in and out

        of his vehicle.

     7. Expedited consideration is necessary because the harm to

       Plaintiff is occurring now, and it is irreparable. Defendants

       have threatened to evict Plaintiff from the mobile home park where

       he lives if he “double parks” so that he can access his vehicle, so he is

       forced to choose between placing his physical well-being in greater

       danger due to having to walk further in winter conditions, and

       potentially losing a place for him and his minor child to live.

       Accordingly, Plaintiff requests that the Court immediately issue the

       requested TRO ex parte and then set an expedited schedule for

       briefing on the request for a preliminary injunction, at which time

       opposing counsel will have the opportunity to respond in full. Time is

       of the essence.

     8. Under Fed. R. Civ. P. 65(b)(1), the Court may issue a Temporary

       Restraining Order without notice to the adverse party when “specific

       facts in an affidavit or a verified complaint clearly show that

       immediate and irreparable injury, loss, or damage will result to the

       movant before the adverse party can be heard in opposition” and “the




                                      5
    Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.37 Filed 03/14/23 Page 6 of 25




            movant’s attorney certifies in writing any efforts made to give notice

            and the reasons why it should not be required.”

         9. Attached to this Motion as Exhibit 4 is an Affidavit, signed by

             Plaintiff Kaatz, detailing his ongoing injury as a result of Defendants’

             actions and continued failure to accommodate his reasonable

             request under the FHA and PWDCRA.1

         10. Pursuant to Rule 65(b)(1)(B) of the Federal Rules of Civil Procedure

             and Local Rule 7.1: on March 8, 2023, Counsel notified counsel for

             Defendants through whom prior negotiations on this matter had

             taken place that Plaintiff Kaatz was filing the instant suit, requested

             that counsel accept service of process, and stipulate to the requested

             relief. Defendants’ counsel responded several days later that her firm

             had “not been retained as of now” so they could not “comment on

             this further”. For that reason, Plaintiff was unable to speak with

             Defense Counsel as it is unknown who will represent Defendants

             during this TRO request.




1The affidavit does not address the exacerbation of Mr. Kaatz’s injuries and resulting disabilities, as these
events happened quite recently; the attached Affidavit sufficiently documents that he was suffering ongoing
injuries sufficient to justify the Temporary Restraining Order even before his recent fall (noting that Mr.
Kaatz is disabled, that Defendants refuse to provide the requested accommodation, and he continues to be
forced to either face eviction or walk further); and it would take additional time to acquire an updated
affidavit due to Mr. Kaatz’s injuries.


                                                      6
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.38 Filed 03/14/23 Page 7 of 25




      11. Plaintiff Kaatz would have no adequate remedy at law and would

            continue to suffer injuries during the pendency of this matter if the

            requested relief is not granted.

      12. Defendants would suffer no costs and no harm if the requested relief

            is granted.

      13. Because Defendants would suffer no costs or damages if the requested

            relief is granted, no bond is required of Plaintiff Kaatz under Fed. R.

            Civ. P. 65(c).

      14. Plaintiff Kaatz is highly likely to prevail at trial on this matter.

      15. Therefore, the Court should issue the requested TRO immediately

            and without further notice to any party for all the reasons stated

            herein and in the attached brief in support.



      WHEREFORE, for all of the above reasons, Plaintiff Bruce Kaatz

respectfully requests that the Court grant the following relief for Plaintiff Bruce

Kaatz and against Defendants:

      (A)     Immediately issue a Temporary Restraining Order enjoining
              Defendants, and all officers, directors, employees, attorneys,
              agents, and assigns of Defendants, from citing Plaintiff Bruce
              Kaatz for “double parking” in the parking spaces in front of his
              home, and from otherwise interfering with his ability to enjoy full
              use of his home, pending entry by the Court of a final judgment in
              this action;


                                         7
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.39 Filed 03/14/23 Page 8 of 25




     (B)   Convert such Order to a Preliminary Injunction after a hearing
           under Fed. R. Civ. P. 65(a);
     (C)   Grant such other and additional relief that the Court finds just and
           appropriate under the circumstances.




                                      8
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.40 Filed 03/14/23 Page 9 of 25




  BRIEF IN SUPPORT OF PLAINTIFF’S EMERGENCY EX PARTE
   MOTION FOR A TEMPORARY RESTRAINING ORDER AND
                PRELIMINARY INJUNCTION


                             ISSUE PRESENTED


      Whether Defendants’ refusal to allow Plaintiff to “double park” (parking

in the middle of both of the parking spots directly in front of his home so that he

has additional room required for him to get in and out of his vehicle, and so that

he can park as close as possible to his home) constitutes a refusal to allow a

“reasonable accommodation” under the Fair Housing Amendments Act of 1988,

42 U.S.C. § 3601 et seq. (“FHA” or “FHAA”), thus violating Plaintiff’s rights

under that statute.




                                        9
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.41 Filed 03/14/23 Page 10 of 25




                      CONTROLLING AUTHORITY


          Fair Housing Amendments Act of 1988, 42 U.S.C. § 3601 et seq.

            (“FHA” or “FHAA”)

          Michigan Persons with Disabilities Civil Rights Act, M.C.L.A. §

            37.1501 et seq. (“PWDCRA”)

          24 CFR 100.204

          Anderson v City of Blue Ash, 798 F3d 338 (CA 6, 2015)

          Connection Distrib. Co. v. Reno, 154 F.3d 281 (CA 6, 1998)

          Motor Vehicle Bd. of Cal. v. Orrin W. Fox, et al., 434 U.S. 1345

            (1977)

          Reid v. Hood, No. 1:10CV2842, 2011 U.S. Dist. LEXIS 7631 (N.D.

            Ohio Jan. 26, 2011)



                                  INTRODUCTION


      Plaintiff Bruce Kaatz, through his attorney, Steven Shelton of Legal

Services of Eastern Michigan, under Fed. R. Civ. P. 65, moves this Court for entry

of a Temporary Restraining Order and Preliminary Injunction enjoining

Defendants Kingsbrook M.H.C., LLC (D/B/A “Kingsbrook Estates MHC, LLC”)


                                       10
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.42 Filed 03/14/23 Page 11 of 25




and Kingsbrook MHC-Michigan, LLC (D/B/A “Kingsbrook Estates MHC, LLC”),

and all persons acting on their behalf, from citing Plaintiff Bruce Kaatz for

“double parking” in the parking spaces in front of his home, and from otherwise

interfering with his ability to enjoy full use of his home, pending entry by the

Court of a final judgment in this action.



                                     STATEMENT OF FACTS


       Plaintiff Bruce Kaatz is a 71-year-old man who resides in a mobile home

with his minor child. This home is, and has been for approximately 15 years,

located at the “Kingsbook Estates Mobile Home Community” (hereinafter

“Kingsbrook Estates”) in Almont, Michigan. “Kingsbrook Estates” is actually

owned and operated by two LLCs: Defendants Kingsbrook M.H.C., LLC and

Kingsbrook MHC-Michigan, LLC.2

       As part of his lease, Plaintiff Kaatz is assigned two reserved parking spots

directly in front of his home. Approximately 12 years ago, Plaintiff Kaatz began

having various problems with his back and legs, and had to undergo several

surgeries. As a result of these surgeries, Plaintiff Kaatz suffers from mobility



2 “Kingsbrook Estates” claims in signage and documents to be operated by “Kingsbrook Estates MHC, LLC”.
However, no such LLC has ever existed in Michigan, according to the Michigan Department of Licensing
and Regulatory Affairs, and both “Kingsbrook M.H.C., LLC” and “Kingsbrook MHC-Michigan, LLC” are
indicated as the owners and operators by various property and tax records, among other things.


                                                  11
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.43 Filed 03/14/23 Page 12 of 25




issues and became disabled. These issues make it difficult for Plaintiff to get in

and out of his vehicle, especially when he is bringing in groceries or helping his

young son in and out of the car. They also make it excruciatingly painful for him

to walk long distances. To make these things easier, Plaintiff Kaatz began

parking so that his vehicle was centered between his two parking spots, giving

him extra room to get in and out of his vehicle. He parked in this manner for

years without incident, problem, or complaint.

      In September, 2022, Kingsbrook Estates began repaving their streets and

informed residents that they would need to park by the office (roughly a quarter

mile away) or in the parking spots of vacant sites. Plaintiff Kaatz notified

Defendants at that time that he had a disability that made walking difficult and

needed to reserve a parking spot near his home (i.e., one of the parking spots on

vacant sites) for this reason. Heather Viehman, the regional manager for

Kingsbrook Estates, left a voicemail for Plaintiff acknowledging that Plaintiff

Kaatz has a disability but that in her view, “there is room for you to comfortably

walk from your home to any of the parking areas that have been offered to you,

so no other accommodations are going to be made.”

      Once the paving project was completed, Kingsbrook Estates designated

one parking spot as a “handicap parking” spot. This “handicap parking” spot is

at the end of the street, significantly further away from Plaintiff’s home than his


                                        12
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.44 Filed 03/14/23 Page 13 of 25




existing parking spots. It is only designated by paint on the pavement—there is

no other signage to indicate that it is a handicap spot—so when it snows, this

spot is unrecognizable as a handicap spot. It is also not reserved for any

particular person.

      On or about October 9, 2022, a Kingsbrook Estates maintenance man had

a conversation with Plaintiff Kaatz about the parking, for the first time indicating

a problem with the way that Plaintiff Kaatz had been parking for approximately

a dozen years. When Plaintiff Kaatz asked if the handicap spot was reserved or

if anyone could park in it, this employee told Plaintiff Kaatz that it was not

reserved, adding “and you’d better park in your f***ing parking spot and not on

both of them!”

      On October 25, 2022, Plaintiff Kaatz received a “violation” for “double

parking” because he had parked as previously described. Plaintiff Kaatz texted

Defendants about the violation and the maintenance man’s use of vulgar

language in front of Plaintiff’s child that same day, indicating that he needed an

accommodation for his mobility-related disabilities.

      Defendants refused, replying that now that “the lines” are there, it is

considered “double parking and that is not allowed”. Plaintiff received several

more texts from Defendants’ agents thereafter, saying that he does not pay for

the spots, he rents them, so “the violations will not change”.


                                        13
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.45 Filed 03/14/23 Page 14 of 25




      Plaintiff Kaatz followed up on October 31, 2022 by emailing a request for

an accommodation, specifically stating that he needs extra room getting in and

out of his vehicle, and asked to be allowed to do this as an accommodation for

his disability. To support his reasonable accommodation request, he provided

Defendants with a copy of an October 28, 2022 letter from his neurologist that

stated Plaintiff Kaatz was being treated for mobility issues related to his

“multiple back and neck conditions” and required parking in a “handicap

parking spot or . . . a wider parking spot for his multiple conditions.” October 28,

2022 Letter from Michigan Neurology Associates, P.C. (Exhibit 1).

      The Kingsbrook Estates property manager, Defendant Magar, responded

to Plaintiff Kaatz via email saying “there is a handicap spot at the end of the

sidewalk that you are more than welcome to use” and said they are hoping to get

another one next to it soon. Defendants cited Plaintiff for another “double

parking” violation that same day. Defendant Magar stated to Plaintiff that if he

received a third violation, that he would be evicted.

      On November 7, 2022, Plaintiff made another request for an

accommodation through counsel (Attorney Steven Shelton of Legal Services of

Eastern Michigan). Defendant Magar refused to give the accommodation,

merely repeating that Plaintiff could use the handicap spot that is further away




                                        14
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.46 Filed 03/14/23 Page 15 of 25




from his home and that was all she was willing to do for him. She then referred

counsel to Kingsbrook Estates’ counsel.

      Attorney Shelton attempted to contact Defendants’ counsel that same day,

through both an email and a letter. In both, Attorney Shelton formally requested

the accommodation on behalf of Plaintiff Kaatz, explained the need for it, and

explained why it was not reasonable to require a man with mobility issues to

walk further to reach a handicap parking spot. No substantive reply was received

until more than two weeks later, when Attorney Jenni McGuire Scheid replied,

asking for more time to “contact my client and discuss the matter further”.

      Attorney Shelton expressed surprise at the need for more time, explaining

that this situation had already been going on for a month, that the resolution

proposed by Plaintiff literally costs the Defendants nothing and requires them to

take no physical action other than making a few notes in a file. Attorney Shelton

also forwarded to Attorney Scheid the letter from Plaintiff’s neurologist, as well

as an additional letter from Plaintiff’s Physician’s Assistant (“PA”) at Henry Ford

Medical Center, which stated specifically that because of his disability, “He is to

be allowed to park in the middle of his 2 parking spots (‘Double Park’), as he

needs extra room to get in and out of his car”. November 1, 2022 Letter from

Henry Ford Medical Center (Exhibit 2).




                                        15
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.47 Filed 03/14/23 Page 16 of 25




      Attorney Scheid refused to allow the accommodation deemed necessary

by Plaintiff’s PA, repeating only that Plaintiff could use the handicap spot that is

located further from his doorway. Attorney Scheid also asserted that “the

documentation does not support what he is asking for and we are complying

with what the medical professionals are advising.” As previously noted,

Kingsbrook Estates had acknowledged in September, 2022 that Plaintiff has a

disability that makes it difficult for him to walk.

      Despite the fact that the November 1, 2022 letter from Plaintiff’s PA had

already specifically stated that he needed to be “allowed to park in the middle of

his two parking spots (‘Double Park’)”, Plaintiff obtained another letter from Dr.

Kenneth Scott on December 7, 2022. The December 7 letter from Dr. Scott

specifically stated that “He needs an extra wide parking space so that he can get

into and out of his car because of his mobility issues. He also needs a parking

space as close as possible to his front door.” December 7, 2022 Letter from Dr.

Kenneth Scott (Exhibit 3).

      Attorney Shelton forwarded this letter to Attorney Scheid that same

day, and receiving no reply, sent it to her again on December 13, 2022, once

again demanding that Plaintiff’s request for the reasonable accommodation

be approved.




                                         16
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.48 Filed 03/14/23 Page 17 of 25




      To date, Attorney Scheid has provided no response, nor has Plaintiff Kaatz

been notified that his request has been approved, nor have the “violations” been

removed from his file. As previously noted, Plaintiff has been told by Defendants

that if he receives a third violation, he will be evicted from the park, at

considerable expense.

      In February, 2023, an ice storm hit Michigan. Plaintiff Kaatz, while

attempting to reach his vehicle, fell on the resulting ice. The fall caused new

injuries and exacerbated his existing injuries, making it even more difficult,

painful, and dangerous for him to walk and get to and from his vehicle.

      With the attempts at engaging in an interactive process to reach a

resolution obviously going nowhere, and Plaintiff Kaatz now facing even worse

hardship, he has filed this instant suit and now seeks a Temporary Restraining

Order to prevent Kingsbrook Estates from citing him for “double parking” in the

spots closest to his house that are already reserved for him, instead of requiring

him to walk further to a handicap spot that is not reserved for his use and that is

less accessible to him.



                                    ARGUMENT


      I.    Standard for Issuing a TRO/Preliminary Injunction



                                        17
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.49 Filed 03/14/23 Page 18 of 25




      The standard for issuing a Preliminary Injunction is well-established:

       In determining whether or not to grant a preliminary
       injunction, a district court considers four factors: (1) the
       plaintiff’s likelihood of success on the merits; (2) whether the
       plaintiff could suffer irreparable harm without the injunction;
       (3) whether granting the injunction will cause substantial harm
       to others; and (4) the impact of the injunction on the public
       interest.
      Connection Distrib. Co. v. Reno, 154 F.3d 281, 288 (CA 6, 1998). “The

standard for issuing a temporary restraining order is logically the same as for a

preliminary injunction with emphasis, however, on irreparable harm given that

the purpose of a temporary restraining order is to maintain the status quo.” Reid

v. Hood, No. 1:10CV2842, 2011 U.S. Dist. LEXIS 7631, at *4-5 (N.D. Ohio Jan.

26, 2011) (citing Motor Vehicle Bd. of Cal. v. Orrin W. Fox, et al., 434 U.S. 1345,

1347 n. 2 (1977)). In the case at bar, the issue is whether to allow Plaintiff Kaatz

to continue to park as he has for years—thus maintaining the status quo—or

allow the Defendants to force an elderly man with mobility issues to walk further

during dangerous winter weather.



      II.   Plaintiff Kaatz Meets the Standard for Injunctive Relief

      A. Success on the Merits

      Plaintiff Kaatz is extremely likely to prevail on the merits in this case.

Under the FHA and the PWDCRA, it is considered discrimination not to grant a


                                        18
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.50 Filed 03/14/23 Page 19 of 25




“reasonable accommodation” to a person with a disability so that they may

enjoy the full use of their home as any other person would. 42 U.S.C. §

3604(f)(3); M.C.L.A. § 37.1506a; Anderson v City of Blue Ash, 798 F3d 338,

361 (CA 6, 2015) (noting that the FHAA “requires reasonable accommodations

necessary for a disabled individual to receive the ‘same enjoyment from the

property as a non-disabled person would receive,’ not merely those

accommodations that the disabled individual cannot function without or for

which no alternative is available away from the dwelling.”) (emphasis in

original; internal citations omitted).

      In this matter, it is undisputed that Plaintiff Kaatz is disabled: Defendants

have already acknowledged that he was, at least as early as the September, 2022

voicemail from Defendant Viehman. It is also undisputed that he has requested

a reasonable accommodation, and has provided documentation—not one, but

three separate letters from medical providers—stating that he is disabled and

has difficulty walking. The only question is whether Kingsbrook Estates is

unreasonable in forcing him to walk further to a designated handicap spot

instead of allowing him to park in the two spots directly in front of his home,

which are already reserved for his use.

      Defendants’ arguments that Plaintiff Kaatz can use a handicap spot that is

further away from his home, rather than violate their rules against “double


                                          19
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.51 Filed 03/14/23 Page 20 of 25




parking”, is doomed to fail. Not only does logic dictate that it is unreasonable to

make an elderly man with painful mobility issues walk farther as an

“accommodation”, but the regulations promulgated under the FHAA clearly

undercut this claim:

       (a) It shall be unlawful for any person to refuse to make
       reasonable accommodations in rules, policies, practices, or
       services, when such accommodations may be necessary to
       afford a handicapped person equal opportunity to use and enjoy
       a dwelling unit, including public and common use areas.
       (b) The application of this section may be illustrated by the
       following examples:
       Example (1): A blind applicant for rental housing wants live in a
       dwelling unit with a seeing eye dog. The building has a no pets
       policy. It is a violation of § 100.204 for the owner or manager of
       the apartment complex to refuse to permit the applicant to live
       in the apartment with a seeing eye dog because, without the
       seeing eye dog, the blind person will not have an equal
       opportunity to use and enjoy a dwelling.
       Example (2): Progress Gardens is a 300 unit apartment complex
       with 450 parking spaces which are available to tenants and
       guests of Progress Gardens on a first come first served basis.
       John applies for housing in Progress Gardens. John is mobility
       impaired and is unable to walk more than a short distance and
       therefore requests that a parking space near his unit be reserved
       for him so he will not have to walk very far to get to his
       apartment. It is a violation of § 100.204 for the owner or
       manager of Progress Gardens to refuse to make this
       accommodation. Without a reserved space, John might be
       unable to live in Progress Gardens at all or, when he has to park
       in a space far from his unit, might have great difficulty getting
       from his car to his apartment unit. The accommodation
       therefore is necessary to afford John an equal opportunity to


                                        20
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.52 Filed 03/14/23 Page 21 of 25




       use and enjoy a dwelling. The accommodation is reasonable
       because it is feasible and practical under the circumstances.
24 CFR 100.204 (Lexis Advance through the Mar. 10, 2023 issue of the Federal

Register, with the exception of the amendments appearing at 88 FR 14490, 88

FR 14887, and 88 FR 14893) (emphasis added); see also, Shapiro v Cadman

Towers, Inc, 51 F3d 328, 335 (CA 2, 1995) (“the use and enjoyment of a parking

space cannot be considered in isolation from the tenant's ability to use and enjoy

her dwelling place, a right specifically protected by the FHAA.”). Plaintiff Kaatz’s

situation is virtually the same as the second example given in the regulations. All

he has requested is “reasonable accommodations in rules”: to allow him to

“double park” in his already reserved, already paid-for parking spots that are the

closest to his home. This costs the Defendants nothing, and the only action

required of them is inaction. As such, this accommodation is per se reasonable

and it is a clear violation of the FHAA, PWDCRA, and Mr. Kaatz’s rights under

both to deny him this accommodation.

      B. Irreparable Harm to the Plaintiff

      Plaintiff Kaatz is suffering, and will continue to suffer, irreparable harm

without the Temporary Restraining Order and Preliminary Injunction. As noted,

his disabilities make it difficult and painful for him to walk more than very short

distances, and (during the winter months especially) it can be even dangerous

for him to do so (as his recent fall aptly demonstrates). He is currently faced with

                                        21
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.53 Filed 03/14/23 Page 22 of 25




a choice: walk further at the cost of additional pain, difficulty, and danger; or

park as he has been doing and risk being cited yet again and potentially evicted

from his home. Waiting for the case to be resolved at trial will prolong by

months this stress-inducing dilemma that has already taken a physical,

mental, and emotional toll on Plaintiff Kaatz. The Temporary Restraining

Order and Preliminary Injunction are necessary immediately to eliminate that

ongoing harm.

      C. No Harm to Others

      Allowing Plaintiff Kaatz to “double park” in parking spots directly in front

of his home—spots that he is already paying to reserve as part of his rent—causes

no harm to anyone. Since these spots are already reserved for Plaintiff Kaatz, no

one else is giving up a parking space. Nobody else is being forced to walk further

to and from their vehicle. It costs the Defendants nothing; they merely have to

agree not to cite him for doing so. Again: the only action required of the

Defendants is inaction.

      D. Impact of the Injunction on Public Interest

      It is hard to see how the issuance of this Temporary Restraining Order and

Preliminary Injunction would have any negative impact on public interest. To

the extent that it would have any impact, the issuance of the Temporary

Restraining Order would potentially serve as a message that the rights of people


                                       22
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.54 Filed 03/14/23 Page 23 of 25




with disabilities are to be taken seriously and not merely brushed aside, as

Defendants have done.



                                  CONCLUSION


           Plaintiff Kaatz is being placed in a position where he has been—and

     will continue to be—harmed due to the intransigence of Defendants. Their

     refusal to grant the slightest accommodation is unreasonable, harmful,

     and also illegal. When a person with a disability and their medical provider

     say to a landlord, “This person needs ‘X’ to enjoy full use of their home”, it

     is not the place of the landlord to second-guess them both and suggest “Y”

     instead; the individual with the disability and that person’s caregivers

     know what is best for them. Only when the accommodation is

     unreasonable does the landlord need to offer alternatives, and even then,

     those alternatives must accomplish the same goal as the requested

     accommodation. In the instant case, Plaintiff Kaatz’s request is the most

     reasonable of all: to allow him to park as he has done for years. For

     Defendants, the only action required is inaction. Yet, they refuse.




                                       23
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.55 Filed 03/14/23 Page 24 of 25




           For the foregoing reasons, Plaintiff Kaatz respectfully requests the

     Court grant his motion for a Temporary Restraining Order and

     Preliminary Injunction.



                                   Respectfully submitted,


                                   LEGAL SERVICES OF EASTERN MICHIGAN
                                   Counsel for Plaintiffs


                                   By: /s/ Steven Shelton (P68652)
                                   436 S. Saginaw Street, Suite 101
                                   Flint, MI 48502
                                   810-991-4820
                                   Fax: 810-991-4820
Dated: March 14, 2023              Email: SShelton@LSEM-MI.org




                                     24
Case 2:23-cv-10604-LJM-KGA ECF No. 2, PageID.56 Filed 03/14/23 Page 25 of 25




                      CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on March 14, 2023 I will deliver the foregoing
document to the following via U.S. mail:
Ara J. Darakjian
Registered Agent for Kingsbrook MHC – Michigan, LLC
217 Pierce Street, Suite 209
Birmingham, MI 48009

Armen Darakjian
Registered Agent for Kingsbrook MHC, LLC
29333 Northwestern Highway
Southfield, MI 48034




                                   Respectfully submitted,


                                   LEGAL SERVICES OF EASTERN MICHIGAN
                                   Counsel for Plaintiffs


Dated: March 14, 2023              By: /s/ Steven Shelton (P68652)




                                    25
